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                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE:                                         :   Bankruptcy No. 19-10852-TPA
         Derek S. Kerr,                        :
                                Debtor         :   Chapter 13
                                               :
         Derek S. Kerr,                        :   Related to Docket No. 107
                                Movant         :
                         v.                    :
         Quicken Loans, Inc.,                  :
                                Respondent     :
         Ronda J. Winnecour, Esquire,          :
         Chapter 13 Trustee,                   :
                       Additional Respondent   :



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   This l)ocurncnt Plcparccl            13y
   DAVID O'I}IìIEN
   QUICKIIN LOANS, t,LC
   635 WOODWAIID AVII
   DIII'IROIT, MI4822(t
   (rìn8) 663-7374


   When Recorclcct Mail 'ib:
   FIIIST AMIìRICAN'I'I]'I,E CO
   3 IìIIìST AMEIIICAN WAY
   SANTA ANA, CA 92707-9991

   'lhx/Parccl #:
                                 IS¡racc Above'l'his Line fìrr lìecordirtg Data]
   Original Princi¡lal Amount: $110,461.00                                           xxxxxxxxxxxxx
                                                                     I.-IlA Casc No:442-421216 I 703
   Un¡laid Principal Amount: $103,301.13                             l,oan No: XXXXXXX
                                                                                3349332829
   Ncw Principal Amount: $117,004.00
   Capitalization Amount: $13,702.t17




                     H O MB AFF- O IìDAB L E MOD I FI C,{T I ON A GIìB I' M BN'T
                                                  (MOrì.TGAGE)
                                  (Stcp'lwo of 'lwo-Step Documentation Process)
   Executccl on this clay: JANUAIìY 5,2021
   Ilor|ower ("1"):r DEIìEK KEIìIì AND MEGAN N. KlilìR, t{USIìA.ND AND WIIîE
   Ilorrowcr Mailing Address: I tll,M DIì, lllìOOKVlLl,ti, PA 15825
   l-enclcr ol Servicer ("l-ender"): QUICKEN LOANS, l,LC IVK/A QUICI{ltN I,OANS INCì.
   Lender ol Servioer Address: 635 WOODWARD AVII, Dlil'ROIl', Ml48226
   Date of filst lien moltgage, cleecl ol'tlust, ol seculity cleed ("Moltgage") anci Notc ("Note"): DIìCEMBIiIì 18,
   2015
                  XXXXXX
   l-oarr Nurnber 3349332829




   rvoxls signifying thc singLrlar (sLrch as   "l")   shall includc thc plLrral (sLrch as "wc") and vicc vcrsa whctc a¡r¡rlo¡ttiatc.
   lvlLrltistate I'lomc   Àflìlclablc Modilìc¡rtion                -   Singlc   lìamily                                                19 xxxxxxx
                                                                                                                                           3349332tì29
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   Property Adcircss: 8      lìLM Dll, IIIìOOKVILI,Iì, PITNNSYLVANIA              15825

   Lcgal Dcscliption:


   SEI' EXTIIT}I]' IIAII A'I'TACIIED IITIITE'I'O AND MADIì A PAIì'T HIiIìIIOF


   Prior instrument ref'erence: lìccordcd on DIICEMIìEIL ltl,2015 in. ol'thc Ollicial llccords                                  ol'
   JE F'IIBIìSON CO U NTY, P!]NNSYI-VAN                     I   A

   I1'nry rcplesentations aucl covcnants in Section I continuc to bc tnrc in all ulatcrial lcspccts. thcr.r this Ilomc
   Affordable Moclifìcation Aglecmcnt ("Aglcemcnt") r,vill, as sct fbrth tn Scction 3, aurcucl ancl su1.l¡rlomcnt (l)
   the Moltgage on the Propcrty, ancl (2) thc Notc scourccl by tlie Moltgagc. Thc Mortgagc and Notc togcthcr, as
   thcy may pleviously havc becr.r amenclecl, are referlccl to as thc "Loan I)ocuurcuts." Capitalizccl tct'urs uscd iu
   this Aglecnrent and not delinecl have the ureaning givcrr to them iu Loau Docunleuts,
   I understaud that af'tel I sign and rcturn two oopies of this Agleerlcnt to thc Lender, thc Lencler will sencl mc a
   signed copy of this Agreenrent. 'ilris Agrcement will not take el'lèct unless the preconditious set fortli in Section
   2 have been satisficd.

   1.   My Rc¡rrescntations and Covenants. I ccLtify, rcprcseut to Lcndcr', and aglcc

           A. I     am experiencing a financial halclship. ancl as a rcsult, (i) I am in clclàLrlt unclcr thc l-oan
                 Documeuts or n1y clel'auh is inrrrriuent, and (ii) I tlo nol liavc sLrllìcicut ir.tcourc or acccss to
                 sufÏcicnl licluid assels fo nrake the nronthly lxortgage payllleuts now or in thc ticar lututc. l.lowcvct.
                 I believc that I carr presently aflbrc1 to urake the modilìcd l.r'ìol'tgage payl'netlts showu bclow.

           B.    (i) The Ploperty has not bcen condernned; (ii) one of the [rorlowers signiug this Agt'ceurcnt lives in
                 the Property as a plincipal rcsiclence, ol the Propelty is a lental ¡rropclty; anrl (iii; ilthc i'ropcrty is
                 a lental property, the certif icaticlns I have macie concerning my intcndecl usc o1'the Ptopetty ancl thc
                 numl¡el ol'singlc-farrrly propelties that I own contiuue to be tlr"rc ancl con'ect on the day hcrcol'l

           C.    l'here has becn no inrpolmissible change in the ownership of'the Plopcrty sincc I signcci tlic l,oarr
                 I)ocr¡rnents, A permissiblc clrange woLrlcl be any tlansl'el that tlie lender is reqLrirc<1 by law to allow,
                 sucli as a transl'cr to adcl or l'erl1ove a fàmil¡r memLrer, slloLlse ol clomestic partller ol'the Lrnclersigncd
                 in the cvent of a cleath, clivorce or marriage;

           D.    lJnder penalty of perjury, all docr,rnrenÍs ancl information I liave providecl to Lender in connectirln
                 with this Agleement, inolucling the doounlents ancl inlormation regarcìiug lny eligibility fbr the
                 Proglam, ale true ancl corrcct.

           ll.   If l-encler reqr"rires   ure 1o obtain credit counseling in counection with tlic Proglam, I   will   clo so.

           F,    I have   uracle   or will make all paynlcnts lecluired under a lrial pelioci plan or Loan Woll<out Plan.




   Multistate l{onre Allirrclable Modifìcation Aglcenrcnt -- Single Iranrily                                     l9 xxxxxxx
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   2.    Acknowledgcmcnts and Preconditions to Modifìcation. I unclclstancl                                   ancl ¿rcl<nowlctlge that


            A.    I1'prior to thc Moclification I::f'fcctive Date as set fìÍh in Section 3 thc l.cnclcr cletclrnincs tliat any
                  ol'nty tcprescntatiolls in Sectiou       arc no longcr tluc aucl colrcct or any covcnant in Seotion l has
                                                                  I
                  ru<lt becn pellblr.rrccl. the l,oan I)ocunrcnts will not bc moclificd ancl this Agrcemcnt will tcrnrinatc.
                  In that cvcnt. the l-cr.rder will havc all ol'the rights ancl renicdies ploviclccl by thc Loan l)ocunrents;
                  and

            B. I uuclet'stanci that the Loan L)ocuurents will not be rriodifiecl unless ancl until (i) the l-cndcr accepts
                  this Agleernent lry signing and returning a copy of it to me, and (ii) the Modil'rcation Effective Date
                  (as dcfìned in Section 3) has occun'ed. I further undelstand ancl aglee that tlic Lendel will not be
                  obligatecl ol' bound to ural<e any modilicati<,ln of the Loan Documeuts il'i fail to meet any or.re of thc
                  requiteruents uncler this Agleemeut.

   3. 'Ihc Modilìcation.       Il'n1y rellrescntations ancl covcn¿u1ts in Scction I continuc to l¡c tluc in all matcrial
         rospects and all preconditions to the rnociilioation sct fbrtli in Scction 2 l¡ave bcen llict. tlic l.oan
         I)oouments will autonlatically becomc moclifìcd on AUGUS'l' 1,2020 (the "Moclihoation Ef'fèctive Datc")
         ancl all unpaid latc cliargcs that lcniain unpaicl will bc rvaivccl, I undcrstand that if'I havc firilcd lil ural<c
         any payl'nents as a prccoudition to this moclification uncler a workout plau or tlial periocl 1llan, this
         modilication will uot takc cf fect.'l'lic l'irst rrotlificcl paylltenl will bc cluc on SEP'fttMIlllR 1,2020.

            A.    'llie Matulity Datc will be: AUGUS'I' l, 2050

            B.    Themodificdprincipal balanceofmyNotcwill inclLrcloall arnountsarldarrgaragcstllatwill bepasl
                  due as     ol thc Modilìcaticln llflÌ:ctivc Datc (including unpaid and                            clel'clled intelcst. fècs, escrorv
                  advances arrcl othcr costs, but exclu<ling unpai<1 late charges, collccl.ively. "Unpaicl Amounts") less
                  arly alllounts paid to the Lendel but not credited to rny Loau. J'he ncw plincipal balancc of'niy
                  Note will be $117,004.00 (the "Ncw Plincipal Lìalance"). I uncìelstand that by agrccing to adcl tlic
                  Unpaid Amounts to the outstan<Jing plincipal balancc, the adclcd LJnpaid Amouuts accrLrc intcrcst
                  based on tlie intet'csl latc in ellcct Lurclcr this Agrectricnt. I also unclcrstand tliat this nieans intclcst
                  will now accruc on thc unpaicl Intelest that is acldcd to thc outstancling principal balance, which
                  woulcl not happen withor"rt tliis Agreeu.rcrrt.

            C,    Intelcst at the rate o1 3.2500o/o will bcgin to âccl'Lrc on thc New Plincipal Balance as o1'AUGUS'l'
                  l, 2020 ancl the first rrcw monthly paylrent on thc New Principal Balancc will l¡c due on
                  SBP'I'EMI]ÐR l, 2020. My payrncnt sclieclule lbr thc modilicd l-oan is as follows:

        Ycal s    Inl.crcst Iìalc     hrtelcst Iìate                MonLhly                Ilsti nratocl     'lìrtal Monthly     Paynrcnt       NLrnrbcl ol'
                                      Ohangc DaLc               I)rinci¡:al ancl            Monlhly            Paynrcltl   *    llcgins On       Monthly
                                                              lntclcst I)âynlcnt            Iisol ow                                             I)âynl elt{s
                                                                    Anrount                 Payntcn    t

                                                                                           Atlouul*
        I-30       3.2500o1'          08t0u2020                   s509,21                  $377.48             $tt86.69        0910'/2020           360
                                                                                          May    acl.just     Mty   ad.just
                                                                                          pcri od ica I lv    period ical lv



                  *"lhc escrow paylllcllts r.nay bc ad.justecl periodically in accoldancc with applicablc larv                                       ancl




   Multistatc I-lonlc Allirr'dablc Modif ication Agrccnrcnt    - Single lìanrily                                                       I     xxxxxxx
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                   thelclì¡r'c rny total nronthly ¡raynicnt may changc accot'clingly.

                   l-lie aboi,e telms in this Section 3.C. shall supclseclc any ¡lrovisions      1o tlie contrary in thc Loan
                   I)clcumcnts, inclucling but not linlitcd to, provisions 1'or an adjuslable, step ot siutplc ititcrcst ratc.

                   I unclerstand that, il' I have a pay option ad.jr"rstablc rale lnortg¿rgc loau, upou niodification, the
                   rnininrum nrclntlily paynrent optior.r, the intclcst-or.rly or any otlter payment o1:ltions will rto longer bc
                   offeled ancl that the monthly payments describcd in the above paynlellt scheclule for ury niodif iecl
                   Loan will be the minimurll paylllelit that will lre clue eaoh rnonth lbr the rernaiuing ternr of tlie Loan,
                   My modificd Loan will not have a negative aurortization feature thal rvould ¿rllow ure to pay less
                   than thc interest dr"re resnlting in any unpaid interest bcing aclclecl to thc outstancling principal
                   balance.

           D. I will be iu dcfaLrlt il'I do not conrply r,vith thc lelnrs o1'thc Loan I)ocuurcnts.         as modificd by this
                   Agleernent.

           ll. If a default rate of intcrcsl is pcrrrittecl unclel tlie L,oan l)ocunrents,        thcn in the event   o['c1c1àr.rlt
                   uncler the Loan l)ocurncr]ts. as arneuclecl, the inlelest that     will be due will be thc rato set fblth    iu
                   Section 3.C.

   4.   Additional Agrcements. I agrec to the following

           A.      'I'hat all persons who signecl the [-oan Docur.ncr.rts or tlicir autholized represcrltative(s) liave signecl
                   this Agleen'rcnt, nnless (i) a bon'ower or co-bolrowcr is deceasccl; (ii) thc borrowcr aud co-borrowcr
                   arc divolced ancl thc ploperty lias bccn transfèrred to olle spoLlse in thc divolce clcclec. tlrc spousc
                   who no longcr has an iutercst in thc propcrty nccd not sign this Agrccnrcnt (although thc non-
                   signing spouse may continue to bc hclci liablc Íor thc obligation undcr lhe Loali DocLrnrenls)l or'(iii)
                   the Leuder has waived this requiremellt i11 writirlg.

           B,      'l'hat tliis Agleement shall supelsede the terurs of,any modil'ication, l'rlrbearance, tt'ial pcriocl plan or
                   workoLrt plan that I previously enteled irrto with Lerrcler.

           (1. 'lb       comply, exccpt to the cxtent thal thcy ale rnoclifiecl by this Agreenrent. ivith all covr:uants,
                   agleemcnts, ancl requilements o1'l,oan Documents irrcluding       lry agreen'ìent to lnake all paynrents ol'
                   taxes, insulance prenriunrs, iìsscssl'r1cnts, llscrow Itenis, irrlrounds, ancl all other pavurents, the
                   al'ì'ìount of which nray cliangc pclioclically over lhc term ol'ury Loan,

           D,      'fhat this Agleeureut constitutcs notice that the Lender''s waivcl'as to paynlent ol'tjscrclrv Itenls, il'
                   any, has lreen revol<ed. ancl I have been aclvisccl ol'the arroLult lreeded to lìrlly funci my escrow
                   a0coLult.


           E.      That tlie Loan Docurnents as nr<lclifìecl by tliis Aglccmcnt are c|"rly valid, bincling agreelnents.
                   enlorceable in accolclance with their ternrs ancl ale hereby reaf'l'u.ure<J.

           li.     Funds fbr llscrovv ltems. I u,ill pay to l-cnder on tlic day ¡raynicuts arc ilue uncler thc l.cian
                   Doouments as alrrcnded by this Agleerncnt. until thc L,oan is paid in fi"rll, a sunr (tltc "Funtls") to




   Multistate l-lomc Aflìldablc Moclifioation Ag¡ccntcnr   -   Singlc l:;aurily                                  l9 xxxxxxx
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                  provi(le forpaynont of'anlolults dr,re for': (a) taxcs aud assessrncuts ancl othel itcurs which can attlin
                  priority ovor thc Moltgage as a licn oL cncurrbrallcc ol'r the Prolreltl,; (b) leaschold payllierlts or
                  groun<l rcnts ou the Plopcrty, if any; (c) plemiums lbr auy and all iusurancc recluilecl by l-endcr'
                  undcr the l,oan Docur.nents; (cl) mortgage insul'auce preuriuurs, il' any, or atly sut.ns payablc to
                  Leucler in lieu of the payurcnt ol' mottgage insurarrcc prclniur'ìrs in accot'clauce rvith thc i-oan
                  I)oountcnts; and (c) al'ìy conllxLutity association <1ncs, f'ccs, ancl assesslllatlts that l,cnilcl reclr-tircs to
                  be escrowecl. 'ì'liese items ale called "Bsolow Items." I shall ¡rromptly fìrrnish to Lendel all noticcs
                  of amounts to be paid Lrnder this Section 4.lir. I shall pay Lencler thc lìr-rnds Íbl llscrow Iteurs unless
                  Lenclel waives ury obligatiorl to pay the Irr¡nc{s   lbl any ol'all lrscrorv lten.rs, Lencler may waive uiy
                  obligation to pay to l-errcler I'ìuncls l'or any ol all llscrorv ltems at any timc. Atry sr,rch waiver may
                  clnly be in u,riting, In the o¡ent of sucli rvaiver, i shall pay clirectly. wheu ancl rvherc payablc, thc
                  ar11oLrllls clue fbr ariy Esclow Itenls fbl which paynrent olFulids has becn rvaii,cd lly l.,ertcler and, il'
                  Lender requires, shall lirrnish to Lendel r'eceipts evidcncing such payrlcnt within such tiurc pcriod
                  as l,endcr may recprirc. My obligation to make suoh payments ancl to plovicle t'eccipts sliall for all
                  purposes be deemed to be a coveuarlt ancl agrccmcnt contained irr the L,oan l)ocr"rurents, as lhe
                  phlase "covenant anrl aglecurcnt" is usecl in the Loan Docuurents. If I anl obligatecl to pay Bsctow
                  Items clirectly, pLrrsLrant to a waiver, ancl I fail to pay the an'ìourlt due fcll an fisclorv ltenr, I-enclcr
                  may exercisc its lights unclel' thc Loan I)ocr"rurents and this Aglcenienl ancl pay such ¿rurount alid I
                  shall thcn be obligated to repay to l-encler any such all.roullt. l,encler may levoke the waiver as to
                  any or all E,scrow ltenls at any time by a noticc given in accotclallce with the I.,oati l)ocLtnrents, aud.
                  u¡lon such revocation, I shall pay to Lendel all lìuncìs. ancl in sLrch an'rour1ts, that are then lequirecl
                  tuncler tl.ris Section 4,F.


                  Lenclel nlay, at any time, collcct and hold Funcls in arl alllor.ll.rt (a) sulficient to penrrit l-endel to
                  apply the lìuncls at the tin,e specified under the lìeal Estate Seltlerrient I'r'ocedurcs Act ("IìESPA"),
                  and (b) uot to exceecl the rraxilnull'ì alrount a lencler oan require under IìESI'A, Lendel' shall
                  estiniate the arnount of Irunds clue on the basis of çurrent data ¿rnd reasonable estiurates ol'
                  expenclitures o1'futule llsorow Items ol otherwise iu acçordanoe with applicable law.

                   llic lìr,rncls shall be helcl in an institulion rvhose clcposils ale iusurecl by a l'edeLal agerlcy,
                  instrunlentalit),, or cntity (inclucling l-encier, if' L,enclel is an iustitr"rtion rvliose rleposits are so
                  insutecl) ol in any lrcclclal llomc Lt¡an Ilanl<. I,cndel shall apply the Irr,rncls 1o pay thc l:sclorv ltcurs
                  no later than llic lime specif recl Lrncler IUìSPA. Lender shall not chalge rnc lìrr hcllcling and applying
                  the Iìuncls, annually analyzing the escrow acoounl, or verilying the llscrorv Iteurs, Ltuless Lcnder
                  pays lne iuterest on the Iuncls ancl a¡rplicable larv pe lnrits l-endel to nrake such a chargc. Unless an
                  agl'eelllent is made in writing ol ap¡rlicable law requiles interest to be paid on tlic lrunds. Leudcr
                  shall no1 be required to pûy lìre arry intcrcst ol ealuiugs on the Funds. l.,enclel and I cau agrc'c in
                  wliting, however', tl.rat intelest shall be paicl on the Funcls. Lenclel sliall provide rne, rvithout charge,
                  an annual accounting of the I'iuncls as lequired by IlliSPA.

                  lf   there is a sr"rr¡rlLrs o1'Funcls lielci in escrow, as clelinecl unclel IìESPA, I-ender shall acoount to rne
                  lor the excess iìrncls in accoldance with lìllSPA. 11'there is a shortage clf'Flurcls helcl in escrow, ¿ls
                  cle f inecl undel RIISPA, Len<IeL shall notify me as required by lìLrSPA. and I shall pay to Lender 1[re
                  arnoLult llecessal'y to make Lrlr the slioltage irr accorclance lvith lìiiSPA, lrut in no nlole than 12
                  nronthly llâynlents. ll there is a cleficiency of i;r"urcls helcl in escl'ow. as clef-tned Lrndcr IìËSPA,
                  Lender shall notify me as requile<l by IllÌSPA, ancl I shall pay to Lencler the amouut necessary to




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                    lliake up thc dcfìciency in accolclancc with Rì:SPA, but in no rnole than l2 rronthly payn.ìcr1ts.

                    lJpon payment in ftrll of all surns scourccl by thc l,oan DocLrmcnts, L,ender shall plomptly ref'uucl to
                    rrc any Iìuncls hcld try l,enclcr.

            (ì. 'lliat all terms ancl plovisions of thc [,oan         I)ocunicnts, cxccpt as cxpressly moclifictl by this
                    Agleeureut, renrailr    ilr f'ull lblce
                                                         ancl eflèct; r.rothing in this Agt'eenicut shall bc uuclerstoocl or
                    construed to be a satisfàction or release in wholc ol in part of the obligations coutainecl in tlic l,oan
                    I)ocuurents; and that except as otherwise specifically proviclccì in, ancl as cxpressly nioclified by, this
                    Agleement, the L,ender and I will be bound by, ancl will conrply rvith, all ol'the terms and
                    conditions of the l,oan l)oouments.

            l-1. 'l'liat, as of thc Moclilication El'f'ectii,c Date, notwithstandiug any othet'pt'ovision o['thc l-oan
                 I)ocurnents, if all or atiy part of'thc Propcl'ty or any intclcst in it is solcl or trausf'ct'rcd without
                 Lencler''s plior wlittcn collsellt, Lender rray, at its oplion, recluire iumccliatc paylllcllt in l'ull of'all
                 surns seoL¡red by the Mortgagc, I-encler shall not cxclcise this option il'state or l'ccleräl law, rr,tles or
                 regr"rlations plohibit the exercise of suoh olrtion as ol'the date of'sucli salc or tl'ansf'et'. If l-eucler
                 exercises tliis option, Lelrdel' shall givc urc r.rotice of acceleration.
                                                                                           'I'he noticc sliall provide a
                                                                                                                            ¡tcri<lcl
                 of'uot less than 30 clays lì'orn the clate the notice   is clclivered ol mailed  rvithin rvhiclt I ntLrst ltay all
                 surns securecl by the Mortgage. Il'I fàil to pay thcse sunrs priol to the expit'ation o1'fhis ¡lerioc1.
                 Lencier may invol<e any reureclies perniitteci by the Mortgage withor-rt lirrtlier Irotioe ol cletlancl ou
                    111e.



                    Tliat, as of the Moclification llll'ective Date, I understancl that the Lcucler will only allow the translèr'
                    ancl assunrptiou of the Loan, inclucling this Agreeurenl, to a transfclce of r.ny llropel'ty as perurittecl
                    uncler tlie Garn St. Germain Act^ l2 tJ.S.C. Section l70l.l-3. A buyer ol transfèrce ol'the Property
                    will not be pen.nitted, r,rnclel any othel circumstalloe. to assullle the l,oan. Lixcept as notecl herc'in,
                    this Agleeurent l11a)/ nol be assignetl to, or assumec{ by. a bLryer ol transf'elee of'the Property.

            J.      'I'hat, as of the Moclifìcation lr1l'ective Date, il'any provision in the Note ol in any acldencluur or
                    amenclureut to the Note allowecl fbr the assessulent of'a penalty f'or full or partial prelraynrent of'the
                    Note, sucli lrlovision is null aucl voicl.

            l(,     That,  I will coo¡relate fLrlly with l.,encfel'in obtaining any title endorsement(s), or sirnilar title
                    insulanoe ploduot(s), and/ol'suborclination ag|eement(s) that arc lleccssary or t'cc¡uitccl bi, the
                    Lender''s procedules to ellsul'e that the rrodified lnortgage L,oan is in first lien position ancl/or is
                    lìrlly enfolceable upon rnodifìcation ancl that i1ì under any circuurstance and not i.l,ilhstaucling
                    anything else to the contraly in this Agleeurent, the Lelicler' doe s t.tot receive such title
                    endolsement(s), title insuL¿urce procluct(s) ancl/or suborclination agt'eeLnent(s), theu the teruls ol'this
                    Agreerrent will not beconre e flèotivc on the Modilìcation l:,ffeotive Datc ancl the Agreeutent rvill be
                    nr,rll ancl void.


            L.      That I will execute suoh other documelits as lîay be leasonably neoessal'y to either'(i) consun.unate
                    the tel'rls and conditions of this Agleerrent; or' (ii) corleot the telrns and coriclitions ol' this
                    Agreement if an ellor is cletectecl alìel execution of this Agreeurent. I understaud thal either a
                    oorrected Agreenreut or a lettel agl'eeil1el1t oontaìning the collection rvill be proviclecl to ue for ury




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                   signatr.rre.L.cnclcr's olttion, lhis Aglccmcnt rvill lrc voicl ancl ol'no lcgal clì'cct upotr noticc of'
                                  At
                   such crror.    Il'I
                                 elcct not to siglt any such oorrcctivc clocunlcutation, thc tct-urs o1'tlic olig,inal l,oan
                   l)ocumcnts shall continLrc in lìrll 1Ì¡r'cc ancl cf f cct. sLrch tertrrs rvill not b(l rnodil'iccl by this
                   Agrecmcnt, ancl       I will not bc cligiblc f'ot'a mociilication   uudçr the IIomc Af'lordatrle Moclification
                   Plogram.

           M.      That l-endel' will collect ancl record persoual infornration. inclr.rding, br-tt not Iimiteci to, llly l1ame,
                   adclress, telephone uumber, social security num[rer, credit soot e, ittccit.ne, paytllent histot y.
                   governll'ìet1t ntonitoring information, ancl iril'ormation about accoLlnt balauces ancl activity, In
                   addition, I understancl ¿utd consent to the disclosure of my pcrsonal infot'uration and tlie tclnrs olthe
                   tlial pet'iod plan and this Agrcerncut by Lenclel to (i) the U.S. Delrar'lnrent of'thc 'lt'easttry, (ii)
                   Fannie Mae and lìreclclie Mac in conncction with their rcsponsibilities Ltndet'the llomc A1-fìllclability
                   and Stability I,lan; (iii) any irrvcstclr', iusurcr', glr¿rrantor tlr selviccr that owns, insures, gLtaratttecs or
                   serviccs uiy lirst lien ol suborclinate licn (if applicable) lrorlgage loarr(s); (iv) companies tliat
                   pelf'orm support services fbr the lìonle Affolclable Moclificatioti Prograur and the Secorrd Lien
                   Modifìcation Proglam; ancl (v) any IIUD ccrlif ied hor.rsing cor.tttsclttr.

           N.      That   if any document related to the Loan L)ocunrents and/or this Agt'eetrretit is lost, misplacecl,
                   n.risstated, iuaccurately reflects the true ancl correct ternrs and oonditions of'the loan as mociifiecl, or'
                   is otherwise missing, I will comply with the L,enclcr's l'equest to exectttc, acknowle<ìge, initial and
                   clelivel to the Lender auy docunrenlation the L,encler' deetns uecessaly. If'the Note is replaced, the
                   Lenclel hereby inclernni[ies ure against any loss associatecl with a clemaltcl on the originaI Note. All
                   clocuurents lhe Lelicler reqllests of me Lrnclcl this Section 4,N, shall be relèrlecl to as "[)ocltutents." I
                   agrec to cleliver the I)ooumeuts within ten (10) days afìer I receive thc Lcndcr''s writtett t'equest fÌrr
                   such re¡llacenrent.

           O,      Tlial the uloftgage insuLance ltremiums on r.ny L,oan, if'applicable, ntay ittcrease as a t'esttlt <¡1'the
                   capitalization whioli will result in a highel total monthly lrayulent. Irut'therurore. the clale on rvliicl.r I
                   lray request cancellation of nrortgage insuLance nray change as a result of the New Principal
                   Balance.

           P. Il'nry Loan I)ocuments              govenl a home equity loan or line of cleclit. then I agree that as of tlie
                   Mociification Ef fective Date, I anr telnrinating rny riglit to borrow new lìrucis uuder t.t.ty honre eclLrity
                                            -fliis
                   loan ol line of cleclit.        ureans that I cannot obtaiu aciclitional advanccs, aucl tnrrst make payments
                   accorcling to this Agreement. (l.endel rnay have pr:eviously ternriuatecl or sLrspetided nty right to
                   obtain aclclitiorial aclvances uncler nry home ecluity lclan or line of'credit. ancl if'so, I couf irnr and
                   acknowledge that no adclitional advauocs ma¡, bc obtainccl.)




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                                                 Exhibit B Page 9 of 14




   In Witness Whereo              I have executed this Agreement.
                                                                                                                             IrlI.?-\
   Borrower: DEREK                                                                                                           Date

                                                                                                                             \   - \u\-L[
                                     N          *signing solely to âcknowledge this Agreentent, but not to incur any         Date
   personal   liability for   the debt


                                              ISpace Below This Line for Acknowledgments]

   BORROWER ACKNOWLEDGMENT

   State   of
   County       of
   This record was acknowledgecl before me on
   (date) by DEREK KERR, MEGAN N. KERR (name(s) of individual(s)).


                                                                                                                         (Stamp)

                   ofnotarial officer                                                                                                 - Not.ry
                                                                                                                                      Publio
                                                                                                                   Jefferson CountY
                                                                                                                                             2022
                                    14.      \ñ)                                   bltc-            My

   Printed Name and Title of office                                                                 M€mber,



   My commission expires:                  lc\. I , aOaa




   Multistate Honle Affordable Modification Agreeurent         - Single   Family                                                       l9 xxxxxxx
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   ln Witness Whereolì the Lcncler has executccl this Agreeurcrrt.
   QUTCKtìN LOANS LLC IVK/A QUTCKEN LOANS rNC. By FilìS1'AMBnICAN                                      'tI]'LD INSLJIìANCli
   COMPAN\', AS I]'S A1'1'OIINIIY-IN-FAC'I'


   By                                                         (plint nanre)                                           Date
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   by                                                        thc                                              ol'QUICKEN LOz\NS
   LLC I?/K/A QUICKBN LOANS INC. IÌ}' IìIIIST'AMIIII.ICAN ]'I'LT,B INSUIìANCE COMPANY, AS
   I'IS ATI'OlìNliY-tN-FAO'I-            , a company, on bcliall ol'saicl cotrlrany.




   Notary l'ublic


   Printccl Name

   My courmission explres

   Draftcd Ily:
   QUICKIIN I,OANS,I,LC
   635 WOODWARD AVIi
   DB'l'tìoIT, Mt 48226




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                                                                Addendum
   This Addendum is made a part of that Loan Modification Agreement elltered into between <Mf LenderName-MD>
   (the "Lender") and DEREK KERR AND MEGAN N. KERR, HUSBAND AND WIFE (the "Borrower") clated
   JANUARY 5,2021 the "Loan Modifrcation Agreemeut"),

   Notwithsta¡di¡g anything to the contrary containecl in the Loan Modifrcation Agreeurent, the parties hereto acknowleclge
   the effect of a discharge ìn bankruptcy that may have beeu granted to the Borrower prior to the execution hereof and that
   the Lender may ¡ot pur.sue the Borrower for personal liability. However, the parties acknowledge that the Lender retains
   certain rights, including but not limitecl to the right to foreclose its lien uncler appropriate circttnrstances. The parties agree
   that the consideration ior this Agreement is the Lender's forbearance from presently exercising its rights and pursuing its
   renredies ¡nder the Security Instrument as a resnlt of the Borrower's default of its obligations thereunder, Nothing herein
   shall be corrstrued to be an attempt to collect against the Borrower pe|sonally or an attelì1pt to revive personal liability.
   Notwithsta¡ding a¡y monthly payments hereunder, Borrower unclerstallds that (l ) Lender's sole recourse is the enlorcement
   of its security iñterèst in the'Pioperty ancl any action which rnay exist in relation to the Property itself and that (2) nothing
   in this Agreemellt revives or puipott, to revive any debt, or create any personal liability or obligatiou for a debt, that was
   discharged in bankruptcy.




   Lender Signature                                                                                                  Date
   By:
   Title:

                                                                                                                     l'l{-zì
               DEREK                                                                                                 Date

     h
   Borrower:             N N. KERR
                                                                                                                      \-\q-2t
                                                                                                                     l)ate




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BETWEEN:
DBIIEK KIiIìll, MticAN N. KBILR. (assignor/Mortgagor/grantor')

AND:
QUICKEN LOANS I.t,C F/K/A QUICKIÌN L,OANS rNC. BY IrIllS',IAMlllllCAN ]'l'l'LE INSUIìANCIì
COMPANY,,,\S I'tS A'l"l'OllNEY-IN-IìAC1' (assi gncciMortgagcc/grantcc)




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                                                                                                                                         Loan Number: XXXXXXXX
                                                                                                                                                        3349332829
                                                                                                                                     Property Address: I ELM DR
                                                                                                                                                        BROOKVILLE, PA 15825
                                                                                                                                           Notice Date: 01 10512021




      Hi, DEREK KERR and MEGAN N. KERR.

     By signing this, you are agreeing to the below:

     l,A¡Ve authorize First American Title lnsurance Company to correct any typographical or clerical errors in my/our loss mitigation
     documentation, including any loan modification agreement, FHA partial claim mortgage or other documentation that l/we signed ìn
     connection with my/our loss mitigation solution approved by Quicken Loans, LLC. FirstAtnerican Title lnsurance Company is
     authorized to place my/our initials on my/our behalf on the documents where the changes are made.

     Examples of typographical or clerical errors that First American Title lnsL¡rance Cornpany can correct on my/our behalf include the
     following:
              . Errors in the spelling of my/our name or my/our mailing or property address

              .Adding the legal description of my/our property if it was inadvertently omitted
              . Correcting any dates to accurately reflect my/our signing date

              .Correcting errors or adding information to ensure the title vesting on the loss mitigation documentation
               matches the title to my/our home as it appears on the most recent deed
              .Correcting errors with the identification of the recorded mortgage on my/our modification agreerl'ìent
              .lf       applicable, adding the name of my/our condominiur¡ or planned urban developtnent (PUD) project
                 if it was inadvertently omitted

      This Correction Agreement will not be used in any way to change the terms of my/our loss mitigation solution, including
      my/our new interest rate, loan term, loan amount or monthly payment as set forth in my/our approval letter.
      lf this Correction Agreement is used, l/we will be notified and receive a copy of the corrected document'




                                                                                                                                                                                      i:¿.rr'tilIrtcri      )
Questions? Contact Your Quicken Loans Team.
                                Phone:                (800) 508-0944                                                                   Hours: lVonday - Frid ay B:30 a,m. - 9:00 p,m. ET
                                Email:                AccountResolution@QuickenLoans,com                                                              Saturd ay 9;00 a,m, - 4:00 p.m. ET
                 Secure                 Fax:          (877) 380-5084

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QuickenLoans
- --ñgìneeieo ro Amoze                                                                                          Correction Agreement
1050 Woodward Avenue I Detroit, Ml 48226

                                                                                           Loan lnformation
                                                                                              Loan Number: XXXXXXX
                                                                                                             3349332829
                                                                                          Property Address: I ELM DR
                                                                                                             BROOKVILLE, PA 15825
                                                                                                Notice Dalez 01 10512021




  By signing this, l/we authorize First American Title lnsurance Company to sign my/our initials on my/our behalf to correct any
  typographical or clerical errors in my/our loss mitigation documentation.

  lf this Conection Agreement is used, l/we will be notified and receive a copy of the corrected document.

                                                                          l-lg-¿t
            KERR                                                        Date
   T\tur"   14.[.^-                                                      \-lq-L\
       (f renn
   MÉcnru                                                               Date




 lf you have an active bankruptcy or you received a bankrupl.cy discharge, we are sending this îor informational or legal pur¡roses only. We're not
trying to collect against you personally. lf you have any questions about this commun¡cation or your obligation to pay, please contacl your attorney.
lf you want to send us a Qualified Written Request, a Notice of Error, or an lnformation Reqr.rest, you mu$t send it to the follov.ring address:
Qr.ricken Lclans. LLC
P.O. Box 442359
Detroil, Ml 48244-2359
Fax'. \877) 382-3138
Questions? Contact Your Quicken Loans Team.
           Phone:       (800) 508-0944                                                        Hours: Monday - Friday: 8:30 a.m. - 9:00 p.m. ET
           Emall:       AccountResolution@QuickenLoans.com                                                   Saturday: 9:00 a.m. - 4:00 P.m. ET
      Secure   Fax:     (877) 380-5084
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